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                                                                                          Kristine C. Oren
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                                                                December 23, 2020
   VIA ECF

   Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street, Room 2220
   New York, NY 10007-1312

           Re:      Giuffre v. Maxwell, Case No.: 15-cv-07433-LAP
                    Giuffre v. Dershowitz, Case No.: 19-cv-03377-LAP


   Your Honor:

          Professor Alan Dershowitz and Ms. Virginia Giuffre hereby jointly request that the Court grant
   them until January 5, 2021 to respond to the December 23, 2020 letter filed on behalf of John Doe in
   Giuffre v. Maxwell (Dkt. No. 1182) in order to accommodate the intervening holidays and attorneys’
   vacation schedules.

                                                       Respectfully submitted,

                                                       /s/ Kristine C. Oren
                                                       Kristine C. Oren

   cc:     Counsel of record, via email




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